Case 1:16-cv-02722-JHR-AMD Documenti1 Filed 05/12/16

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
CAMDEN DIVISION

DENNIS MAURER, Individually,

 

Plaintiff,

VS.
Case No.

BERLIN CENTER, L.L.C., a New Jersey
Limited Liability Company

Defendant. :

/
COMPLAINT

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Plaintiff, DENNIS MAURER, Individually, on his behalf and on behalf of all other mobility

impaired individuals similarly situated, (sometimes referred to as “Plaintiff’), hereby sues the

Defendants, BERLIN CENTER, L.L.C., a New Jersey Limited Liability Company (sometimes

referred to as “Defendant”, for Injunctive Relief, damages, attorney’s fees, litigation expenses, and

costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the

New Jersey Law Against Discrimination (N.J.S.A.).
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Plaintiff, Dennis Maurer, is an individual residing at 8 Prospect Ave, Egg Harbor Township,

NJ 08234, in the County of Atlantic.

2. Defendant, BERLIN CENTER, L.L.C., a New Jersey Limited Liability Company, holds title

to the subject property alleged by Plaintiff to be operating in violation of Title III of the

ADA.

Defendant’s property, BLOOM CIRCLE SHOPPING CENTER, is located at 2 Route 73

South, Berlin, New Jersey 08009 in Camden County.

4, Venue is properly located in the District of New Jersey because venue lies in the judicial
district of the property situs. The Defendant's property is located in and does business within
this judicial district.

5. Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original
jurisdiction over actions which arise from the Defendant's violations of Title III of the
Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and §
2202.

6. Plaintiff Dennis Maurer is a New Jersey resident, is sui juris, and qualifies as an individual

with disabilities as defined by the ADA. Mr. Maurer has multiple sclerosis and is mobility

impaired, and uses a wheelchair for mobility. Dennis Maurer has visited the subject
shopping center, which forms the basis of this lawsuit, and plans to return to the subject
property in the near future to avail himself of the goods and services offered to the public at
the property. The Plaintiff has encountered architectural barriers at the subject property. The

ADA violations and barriers to access at Bloom Circle Shopping Center are more specifically

set forth in this Complaint. The barriers to access at the property have endangered his safety.

7. Defendant owns, leases, leases to, or operates a place of public accommodation as defined by

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the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.
Defendant is responsible for complying with the obligations of the ADA. The place of public
accommodation that the Defendant owns, operates, leases or leases to is known as Bloom:
Circle Shopping Center, and is located at 2 Route 73 South, Berlin, NJ 08009.

Dennis Maurer has a realistic, credible, existing and continuing threat of discrimination from
the Defendant’s non-compliance with the ADA with respect to this property as described but
not necessarily limited to the allegations in paragraph 10 of this complaint. Plaintiff has
reasonable grounds to believe that he will continue to be subjected to discrimination in
violation of the ADA by the Defendant. Dennis Maurer desires to visit the subject property
not only to avail himself of the goods and services available at the property but to assure
himself that this property is in compliance with the ADA so that he and others similarly
situated will have full and equal enjoyment of the property without fear of discrimination.

The Defendant has discriminated against the individual Plaintiff by denying him access to,
and full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or
accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in
violation of the ADA by failing to, inter alia, have accessible facilities by January 26, 1992
(or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000
or less). A preliminary inspection of Bloom Circle Shopping Center has shown that

violations exist. These violations that Dennis Maurer personally encountered or observed

include, but are not limited to:
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Parking and Exterior Accessible Route

Parking spaces throughout Bloom Circle Shopping Center are not maintained; lack
adequate access aisles contain slopes and abrupt changes of level within the spaces,
violating Sections 502 and 502.4 of the 2010 Accessibility Standards. These
conditions prevent Mr. Maurer and those in wheelchairs to unload from their vehicles

freely and safely.

Curb ramps provided to access stores at Bloom Circle Shopping Center are unsafe for
wheelchair users and are not provided in some areas of the center. The curb ramps
contain excessive slopes, abrupt changes of level and lack level landings, violating
Sections 402 and 406 of the 2010 Accessibility Standards.

The exterior accessible route from parking spaces at Bloom Circle Shopping Center
fails to provide a safe accessible route to ramps or curb ramps and was found to be
impeded by cross slopes and abrupt changes of level, violating Section 402

Bloom Circle Shopping Center fails to provide a safe accessible route to the adjacent
street or sidewalk, violating Section 206.2.1 of the 2010 Accessibility Standards.

Access to Goods and Services

Angelo’s Pizza, Circle Chinese and Ollie Gators Pub fail to provide accessible dining

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tables for those in wheelchairs, violating Section 902 of the 2010 Accessibility
Standards.

f. Payment counters throughout Bloom Circle Shopping Center are mounted beyond the
reach of Mr. Maurer and others in wheelchairs, violating Sections 308 and 904 of the
2010 Accessibility Standards.

g. Family Dollar lacks an accessible checkout line, violating Section 904 of the 2010
Accessibility Standards.

Restrooms

h. Restrooms at Bloom Circle Shopping Center including Angelo’s Pizza, Circle

Chinese and Ollie Gators Pub were reported to be unsafe for use by the plaintiff.
Inspection revealed Mr. Maurer was unable to use the restrooms safely due to a lack
of accessibility. Including, inaccessible water closets which lack proper controls and
wheelchair maneuvering space violating Section 601 of the 2010 Accessibility

Standards.

Restrooms at Angelo’s Pizza, Circle Chinese and Ollie Gators Pub provide
dispensers beyond reach of wheelchair users and are inaccessible to the plaintiff,
violating Section 308 of the 2010 Accessibility Standards.

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j. Lavatories at Angelo’s Pizza, Circle Chinese and Ollie Gators Pub lack knee

clearance and accessibility preventing the plaintiff from freely accessing the lavatory,
violating Section 606 the 2010 Accessibility Standards.

k, Angelo’s Pizza, Circle Chinese and Ollie Gators Pub provides restrooms that contain
improper centerlines for the water closets and flush controls mounted on the wall
side, violating Section 604 of the 2010 Accessibility Standards.

1, Using restrooms doors at Angelo’s Pizza, Circle Chinese and Ollie Gators Pub in
Bloom Circle Shopping Center is impeded by round door knobs and a lack of
maneuvering clearance, violating Section 404 of the 2010 Accessibility Standards.

All of the foregoing violations are also violations of the 1991 Americans with Disabilities

Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design, as

promulgated by the U.S. Department of Justice.

The discriminatory violations described in paragraph 10 are not an exclusive list of the

Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of

public accommodation in order to photograph and measure all of the discriminatory acts

violating the ADA and all of the barriers to access. The individual Plaintiff, and all other
individuals similarly situated, have been denied access to, and have been denied the benefits
of services, programs and activities of the Defendant’s buildings and its facilities, and have
otherwise been discriminated against and damaged by the Defendant because of the

Defendant's ADA violations, as set forth above. The individual Plaintiff, and all others

similarly situated, will continue to suffer such discrimination, injury and damage without the

immediate relief provided by the ADA as requested herein. In order to remedy this

discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of

public accommodation in order to determine all of the areas of non-compliance with the

Americans with Disabilities Act.
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Defendant has discriminated against the individual Plaintiff by denying him access to full
and equal enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations of its place of public accommodation or commercial facility in violation of
42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues
to discriminate against the Plaintiff, and all those similarly situated by failing to make
reasonable modifications in policies, practices or procedures, when such modifications are
necessary to afford all offered goods, services, facilities, privileges, advantages or
accommodations to individuals with disabilities; and by failing to take such efforts that may
be necessary to ensure that no individual with a disability is excluded, denied services,
segregated or otherwise treated differently than other individuals because of the absence of
auxiliary aids and services.

Plaintiff is without adequate remedy at law and is suffering irreparable harm. Considering
the balance of hardships between the Plaintiff and Defendant, a remedy in equity is
warranted. Furthermore, the public interest would not be disserved by a permanent
injunction. Plaintiff has retained the undersigned counsel and is entitled to recover attorney's
fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28
CFR 36.505.

Defendant is required to remove the existing architectural barriers to the physically disabled
when such removal is readily achievable for its place of public accommodation that have
existed prior to January 26, 1 992, 28 CFR 36.304(a); in the alternative, if there has been an
alteration to Defendant's place of public accommodation since January 26, 1992, then the
Defendant is required to ensure to the maximum extent feasible, that the altered portions of

the facility are readily accessible to and useable by individuals with disabilities, including

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individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is
one which was designed and constructed for first occupancy subsequent to January 26, 1993,
as defined in 28 CFR 36.401, then the Defendant's facility must be readily accessible to and
useable by individuals with disabilities as defined by the ADA.

16. Notice to Defendant is not required as a result of the Defendant’s failure to cure the
violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees
and gross receipts of $500,000 or less). All other conditions precedent have been met by
Plaintiff or waived by the Defendant.

17. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff
Injunctive Relief, including an order to require the Defendant to alter Bloom Circle Shopping
Center to make its facilities readily accessible and useable to the Plaintiff and all other
persons with disabilities as defined by the ADA; or by closing the facility until such time as
the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

a. The Court issue a Declaratory Judgment that determines that the Defendant at the
commencement of the subject lawsuit is in violation of Title III of the Americans with
Disabilities Act, 42 U.S.C. § 12181 et seq.

b. Injunctive relief against the Defendant including an order to make all readily
achievable alterations to the facility; or to make such facility readily accessible to and usable
by individuals with disabilities to the extent required by the ADA; and to require the
Defendant to make reasonable modifications in policies, practices or procedures, when such
modifications are necessary to afford all offered goods, services, facilities, privileges,

advantages or accommodations to individuals with disabilities; and by failing to take such

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steps that may be necessary to ensure that no individual with a disability is excluded, denied

services, segregated or otherwise treated differently than other individuals because of the

absence of auxiliary aids and services.

C. An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.
§ 12205.
d. Such other relief as the Court deems just and proper, and/or is allowable under

Title I] of the Americans with Disabilities Act.

COUNT 0
VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

Plaintiff re alleges all prior obligations as if fully set forth herein. Plaintiff repeats the
allegations contained in all of the proceeding paragraphs.

Defendant’s facility is a place of public accommodation as defined by N.J.S.A. 10:5-5, (New
Jersey Law Against Discrimination).

New Jersey law provides that all persons shall have the opportunity to obtain all the
accommodations, advantages, facilities and privileges of any place of public accommodation
without discrimination on the basis of disability. This opportunity is recognized and declared
to be a civil right. (See, N.J.S.A. 10:5-4.)

As a result of the aforementioned discrimination, Plaintiff Dennis Maurer has sustained
emotional distress, mental anguish and suffering and humiliation, and other injuries, in

violation of the New Jersey Law Against Discrimination.
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WHEREFORE, Dennis Maurer demands judgment for damages against defendant,

attorneys’ fees, litigation expenses, including expert fees and costs pursuant to the New Jersey Law

Against Discrimination.

Respectfully Submitted,

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